EXHIBIT 18
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                              Case No. 1:25-CV-10910-ADB

                       Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                       Defendants.



                     DECLARATION OF MOLLY FORREST FRANKE

I, Molly Forrest Franke, hereby declare as follows:

        1.     I am a Professor in the Department of Global Health and Social Medicine at Har-

vard Medical School as well as an Associate Professor in the Department of Epidemiology at the

Harvard T.H. Chan School of Public Health (“HSPH”). I joined the Harvard University faculty in

2011.

        2.     I earned an ScD in Epidemiology, Infectious Disease, and Biostatistics from HSPH

in 2010 as well as a B.A. in Sociology and Spanish from Colby College in 2001.

        3.     I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

        4.     My research focuses on improving health outcomes for individuals affected by tu-

berculosis and HIV. My HIV-related research focuses on improving treatment outcomes for ado-

lescents and young adults living with HIV through community-based support and youth-friendly

modalities. I also apply advanced epidemiologic methods to address critical knowledge gaps
related to conditions that disproportionately affect the poor and socially marginalized, including

tuberculosis and cholera.

       5.      My work has been published in the American Journal of Respiratory and Critical

Care Medicine, Clinical Infectious Diseases, AIDS and Behavior, Nature Communications, and

other peer-reviewed publications.

       6.      I am a member of the American Association of University Professors (“AAUP”)

and AAUP–Harvard Faculty Chapter.

       7.      I am aware that the Trump administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to

Harvard and other universities warning of potential enforcement actions. I am aware that on March

31, 2025, the federal government announced a comprehensive review of federal contracts and

grants at Harvard University and its affiliates. I am aware that officials from the Trump admin-

istration sent a letter to Harvard on April 3, 2025 demanding that Harvard immediately take a long

list of actions to remain a recipient of federal funding (the “April 3 Letter”). I am aware that this

was followed by a subsequent letter from Trump administration officials on April 11, 2025 with

more detailed demands that “incorporate[d] and supersede[d] the terms” of the April 3 Letter and

which the Trump administration proposed would serve “as the basis for an agreement in principle

that will maintain Harvard’s financial relationship with the federal government” (the “April 11

Letter,” and together with the April 3 Letter, the “Demand Letters”). Both of the Demand Letters

were made public and I have read the demands listed in the Demand Letters.

       8.       I am aware that, on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2.2 billion in federal grants to Harvard. I understand that the federal government has




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since refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.

       9.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon an-

nounced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)

terminated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture

terminated its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy,

Department of Defense, the National Science Foundation, and the Department of Housing and

Urban Development each terminated their grants to Harvard. Letters communicating each of these

terminations were made public, and I have read each of those letters.

       10.     I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American universi-

ties and making a range of threats about how the federal government intends to use its authority to

impose numerous demands on Harvard University specifically.

       11.     I am aware that Harvard University has pledged $250 million in one-time stopgap

funding to replace some of the over $2 billion in terminated funds. That amount is far from suffi-

cient to replace the terminated funds for either Harvard Medical School or the Harvard T.H. Chan

School of Public Health.

       12.     My research is entirely federally funded. I am expected to bring in at least 25% of

my salary through grant support, and federal grants allowed me to fulfill this expectation.

       13.     I received notification from Harvard on May 15, 2025 that all four of my NIH grants

had been terminated.




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       14.     The first grant funded research on whether community-engaged social media cam-

paigns and social media influencers could reduce HIV-related stigma and, thereby, improve the

health of young people. This grant was about to begin a no-cost extension year when it was termi-

nated, and we planned to use this time to complete analyses and publish our findings. Now, we do

not have the funding to complete our work. If funding is not restored soon, we will not be able to

publish our analyses.

       15.     The second grant funded research on emerging regimens to treat multidrug-resistant

tuberculosis. This grant was in a no-cost extension year when it was terminated, and I had submit-

ted another grant application to continue the work. That grant application has a competitive score,

but I am virtually certain it will not be funded now due to my Harvard affiliation. In early May,

shortly before I received my grant termination notices, a NIH employee told me that program

officers were instructed to sit on all grant applications from Harvard. If funding is not restored

soon, we will not be able to publish outstanding analyses, and we will not have the resources to

make the dataset publicly available for other researchers. Without new funding, we expect to lay

off staff in Peru and Lesotho, some of whom have more than ten years of specialized training and

experience managing these types of data.

       16.     The third grant funded a project on the efficacy of a community-based support in-

tervention for adolescents and young adults transitioning to adult-centered HIV care. We were

completing the third of five years when it was terminated. I provide additional detail about this

project in paragraphs 19 through 24 of this declaration.

       17.     The fourth grant funded research on the role of suboptimal treatment adherence and

comorbidities in unsuccessful tuberculosis treatment outcomes. This was a two-year award to

study the contributions of daily medication adherence and comorbidities such as HIV and diabetes




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to tuberculosis treatment outcomes. As a result of this grant termination, we will not be able to

complete our proposed analyses.

         18.   These grant terminations pose an existential threat to the projects and those in-

volved in them.

         19.   The termination of the third grant is particularly devastating. This grant supported

the evaluation of a community-based support intervention for adolescents and young adults with

HIV in Peru. The project is just over halfway complete and involves several parties that have

operated in reliance on the expectation of continued federal funding. The termination of this grant

will adversely impact those involved in the project and its results. This research cannot simply be

picked up at a later date if federal funding is restored; the investments and progress toward meeting

the study objectives will be entirely lost.

         20.   The third project involves a team at Harvard that includes a postdoc, statistician,

research coordinator, and programmer and 15-20 individuals in Peru. These teams communicate

regularly to ensure successful conduct of research in compliance with US and Peruvian laws and

regulations and international research standards. These individuals reasonably presumed that they

had job security for the remaining two years of the project, and the loss of federal funding directly

undermines that expectation. Without federal funding, we lack alternative sources to support these

teams.

         21.   The termination of federal funding will also have devastating effects for the third

project’s participants. The project is a randomized trial in which young people ages 14-23 volun-

tarily enrolled. Most participants (93%) have a recent HIV diagnosis; one-third lack caregiver sup-

port, over half have mental health needs, and many live in poverty. We committed to 9-12 months

of intervention for enrolled participants as well as follow-up from project staff after the




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intervention. Participants are paired with health workers who attend medical visits with them, help

them enroll in health insurance, and obtain national IDs, if needed. The trial also includes social

support groups, education sessions, and mental health and substance use screening and linkage to

care for participants. Trial participants depend on the services the trial committed to them and lack

other comparable support. Termination of this trial will greatly disturb the lives and expectations

of the participants who chose to participate based on the terms presented to them at the time of

enrollment. For these reasons, early termination is unethical and represents an extraordinary breach

of trust.

        22.    A foundational component of the intervention care the participants receive is the

provision of consistent support by an adult health worker on whom they can rely. The third pro-

ject’s intervention is intended to gradually taper over time so that adolescent and young adult par-

ticipants can eventually gain independence in navigating care systems. If the project is unable to

continue, all participants will not receive the intended offboarding support and may be unprepared

to navigate these systems and to seek alternative sources of care and support.

        23.    The third project also has a control group. If participants in the control group have

any mental health or substance abuse concerns they want assistance with, they are also linked to

care. Early termination of the trial also has ethical implications for the control group. When an

individual decides to enroll in a controlled trial in which access to an intervention or novel drug is

not guaranteed, they may consider potential risks against the benefits, including whether partici-

pation is likely to contribute to a “greater good” through the research discoveries. If a trial is ter-

minated early, the initial evaluation of risks and benefits no longer holds.

        24.    Partnerships established throughout the third project are also gravely threatened by

the termination of the grant supporting it. Local implementing partners in Peru enable this work




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and include the Peruvian Ministry of Health. If I have to let project staff go because I can no longer

pay them or if I do not fulfill my commitment to the participants, who are recruited from Ministry

of Health facilities, I will jeopardize my relationships. I will also damage the positive reputation I

have built with the Ministry of Health over the years. This will threaten the possibility of future

work on HIV service delivery interventions and tuberculosis treatments.

       25.     My staff at Harvard are also irreplaceable. For example, my research coordinator

has been crucial in bridging cultural and linguistic differences. She is bilingual and has built rap-

port with the team in Peru that not anyone can build. If I lose my staff because of the funding

terminations, it will be very difficult to continue my research, given their central roles in the day-

to-day operations of the project and the extensive time invested in training them.

       26.     This third grant as well as the second grant focusing on multidrug-resistant tuber-

culosis treatment have established and fortified critical infrastructure in Peru, Lesotho, and Ka-

zakhstan for carrying out research aimed at improving outcomes for people with HIV and tuber-

culosis. Without federal funding, this critical infrastructure cannot be sustained, posing a formida-

ble barrier to future research.

       27.     I do not know where else to turn for funding for these projects on the short time

frame induced by these grant terminations. Harvard Medical School has communicated that some

amount of funds will be made available over the short term to support our work in the absence of

NIH funds. It is unclear how much and how those funds will be distributed. Disbursement of the

funds Harvard provides may not be based on the quantity of research funding lost. Harvard has

indicated that we should continue essential work on terminated grants for the time being. I have

no guarantee of funding from Harvard in writing, and any funding Harvard can provide will be far

from sufficient to replace my federal grants or allow me to bring these projects to completion.




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        28.     The only long-term alternative to federal funding would be to find emergency phil-

anthropic support, which is exceedingly unlikely. If federal funding is not restored, project staff

for the third grant will soon have to explain to participants that projects are ending, and I will soon

have to let the team in Peru go.

        29.     Graduate students and postdoctoral fellows (“postdocs”) hired to support this re-

search have also had funding cut as a result of my grant terminations and will suffer significantly

as a result. Students and postdocs depend on federal funding to support the research that allows

them to obtain degrees and advance their academic careers. For example, I have a postdoc working

with me who planned to apply for a career development award from the NIH. Because the Trump

administration has told Harvard that it will not receive any future federal funds, it is entirely un-

clear how he can advance his academic career at Harvard. It is difficult to find a new postdoc

position at a different institution given the large number of trainees with funding terminations at

Harvard and other institutions. Moving internationally is not an option for this postdoc. While he

is currently uncertain about what he will do, leaving academia to pursue opportunities in industry

is a leading possibility.

        30.     I know that many of my fellow faculty members and researchers are deeply con-

cerned about the impacts of the recent Trump administration demands and terminations of federal

funding on research and academic freedom. For example, I know that many faculty members are

removing words like “gender”, “equity”, and “marginalization” from their research documents in

an attempt to avoid the termination of grants going forward. The general feeling, however, is that

regardless of what the faculty at Harvard are studying, they will not receive another NIH grant

because of their affiliation with Harvard.




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I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.



Dated: May 30, 2025                                  Signed:

                                                     Molly Forrest Franke
                                                     Professor, Harvard Medical School
                                                     Associate Professor, Harvard T.H. Chan
                                                     School of Public Health




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